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                                                             THE HONORABLE THOMAS S. ZILLY
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                                 UNITED STATES DISTRICT COURT
 8                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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            DALLAS SWANK and JEANNE                            CASE NO. 2:20-cv-01373-TSZ
11          PASCAL, husband and wife,
                                                               STIPULATED
12                                                             PROTECTIVE ORDER
                                    Plaintiffs,
13
                 v.
14          DePUY SYNTHES SALES, INC. and
            DePUY ORTHOPAEDICS, INC.;
15          JOHN DOES I-X,
16                                  Defendants.
17
     1.     PURPOSES AND LIMITATIONS
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            Discovery in this action is likely to involve production of confidential, proprietary, or
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     private information for which special protection may be warranted. Accordingly, the parties hereby
20
     stipulate to and petition the court to enter the following Stipulated Protective Order. The parties
21
     acknowledge that this agreement is consistent with LCR 26(c) and the Model Stipulated Protective
22
     Order. It does not confer blanket protection on all disclosures or responses to discovery, the
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     protection it affords from public disclosure and use extends only to the limited information or
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     items that are entitled to confidential treatment under the applicable legal principles, and it does
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     not presumptively entitle parties to file confidential information under seal.
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 1 2.       “CONFIDENTIAL” MATERIAL
 2          “Confidential” material shall include but is not limited to the following documents and
 3 tangible things produced or otherwise exchanged: Medical records of plaintiff Dallas Swank,

 4 employment and labor records of Dallas Swank, Defendants’ trade secrets or commercial

 5 information that is not publicly known and is of technical or commercial advantage to its possessor,

 6 including but not limited to confidential research and development, financial, technical, marketing,

 7 or any other sensitive trade secret information pertaining to the ankle devices which are the subject

 8 of this litigation, in accordance with Fed. R. Civ. P. 26(c)(7), or other information required by law

 9 or agreement to be kept confidential.

10 3.       SCOPE
11          The protections conferred by this agreement cover not only confidential material (as
12 defined above), but also (1) any information copied or extracted from confidential material; (2) all

13 copies, excerpts, summaries, or compilations of confidential material; and (3) any testimony,

14 conversations, or presentations by parties or their counsel that might reveal confidential material.

15          However, the protections conferred by this agreement do not cover information that is in
16 the public domain or becomes part of the public domain through trial or otherwise.

17 4.       ACCESS TO AND USE OF CONFIDENTIAL MATERIAL
18          4.1     Basic Principles. A receiving party may use confidential material that is disclosed
19 or produced by another party or by a non-party in connection with this case only for prosecuting,

20 defending, or attempting to settle this litigation. Confidential material may be disclosed only to the

21 categories of persons and under the conditions described in this agreement. Confidential material

22 must be stored and maintained by a receiving party at a location and in a secure manner that ensures

23 that access is limited to the persons authorized under this agreement.

24          4.2     Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered
25 by the court or permitted in writing by the designating party, a receiving party may disclose any

26 confidential material only to:

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 1                  (a)    the receiving party’s counsel of record in this action, as well as employees
 2 of counsel to whom it is reasonably necessary to disclose the information for this litigation;

 3                  (b)    the officers, directors, and employees (including in-house counsel) of the
 4 receiving party to whom disclosure is reasonably necessary for this litigation, unless the parties

 5 agree that a particular document or material produced is for Attorney’s Eyes Only and is so

 6 designated;

 7                  (c)    experts and consultants to whom disclosure is reasonably necessary for this
 8 litigation and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

 9                  (d)    the court, court personnel, and court reporters and their staff;
10                  (e)    copy or imaging services retained by counsel to assist in the duplication of
11 confidential material, provided that counsel for the party retaining the copy or imaging service

12 instructs the service not to disclose any confidential material to third parties and to immediately

13 return all originals and copies of any confidential material;

14                  (f)    during their depositions, witnesses in the action to whom disclosure is
15 reasonably necessary and who have signed the “Acknowledgment and Agreement to Be Bound”

16 (Exhibit A), unless otherwise agreed by the designating party or ordered by the court. Pages of

17 transcribed deposition testimony or exhibits to depositions that reveal confidential material must

18 be separately bound by the court reporter and may not be disclosed to anyone except as permitted

19 under this agreement;

20                  (g)    the author or recipient of a document containing the information or a
21 custodian or other person who otherwise possessed or knew the information.

22          4.3     Filing Confidential Material. Before filing confidential material or discussing or
23 referencing such material in court filings, the filing party shall confer with the designating party,

24 in accordance with Local Civil Rule 5(g)(3)(A), to determine whether the designating party will

25 remove the confidential designation, whether the document can be redacted, or whether a motion

26 to seal or stipulation and proposed order is warranted. During the meet and confer process, the

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 1 designating party must identify the basis for sealing the specific confidential information at issue,

 2 and the filing party shall include this basis in its motion to seal, along with any objection to sealing

 3 the information at issue. Local Civil Rule 5(g) sets forth the procedures that must be followed and

 4 the standards that will be applied when a party seeks permission from the court to file material

 5 under seal. A party who seeks to maintain the confidentiality of its information must satisfy the

 6 requirements of Local Civil Rule 5(g)(3)(B), even if it is not the party filing the motion to seal.

 7 Failure to satisfy this requirement will result in the motion to seal being denied, in accordance with

 8 the strong presumption of public access to the Court’s files.

 9 5.       DESIGNATING PROTECTED MATERIAL
10          5.1     Exercise of Restraint and Care in Designating Material for Protection. Each party
11 or non-party that designates information or items for protection under this agreement must take

12 care to limit any such designation to specific material that qualifies under the appropriate

13 standards. The designating party must designate for protection only those parts of material,

14 documents, items, or oral or written communications that qualify, so that other portions of the

15 material, documents, items, or communications for which protection is not warranted are not swept

16 unjustifiably within the ambit of this agreement.

17          Mass, indiscriminate, or routinized designations are prohibited. Designations that are
18 shown to be clearly unjustified or that have been made for an improper purpose (e.g., to

19 unnecessarily encumber or delay the case development process or to impose unnecessary expenses

20 and burdens on other parties) expose the designating party to sanctions.

21          If it comes to a designating party’s attention that information or items that it designated for
22 protection do not qualify for protection, the designating party must promptly notify all other parties

23 that it is withdrawing the mistaken designation.

24          5.2     Manner and Timing of Designations. Except as otherwise provided in this
25 agreement (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or

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 1 ordered, disclosure or discovery material that qualifies for protection under this agreement must

 2 be clearly so designated before or when the material is disclosed or produced.

 3                  (a)     Information in documentary form: (e.g., paper or electronic documents and
 4 deposition exhibits, but excluding transcripts of depositions or other pretrial or trial proceedings),

 5 the designating party must affix the word “CONFIDENTIAL” to each page that contains

 6 confidential material. If only a portion or portions of the material on a page qualifies for protection,

 7 the producing party also must clearly identify the protected portion(s) (e.g., by making appropriate

 8 markings in the margins).

 9                  (b)     Testimony given in deposition or in other pretrial proceedings: the parties
10 and any participating non-parties must identify on the record, during the deposition or other pretrial

11 proceeding, all protected testimony, without prejudice to their right to so designate other testimony

12 after reviewing the transcript. Any party or non-party may, within fifteen days after receiving the

13 transcript of the deposition or other pretrial proceeding, designate portions of the transcript, or

14 exhibits thereto, as confidential. If a party or non-party desires to protect confidential information

15 at trial, the issue should be addressed during the pre-trial conference.

16                  (c)     Other tangible items: the producing party must affix in a prominent place
17 on the exterior of the container or containers in which the information or item is stored the word

18 “CONFIDENTIAL.” If only a portion or portions of the information or item warrant protection,

19 the producing party, to the extent practicable, shall identify the protected portion(s).

20          5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to
21 designate qualified information or items does not, standing alone, waive the designating party’s

22 right to secure protection under this agreement for such material. Upon timely correction of a

23 designation, the receiving party must make reasonable efforts to ensure that the material is treated

24 in accordance with the provisions of this agreement.

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 1 6.       CHALLENGING CONFIDENTIALITY DESIGNATIONS
 2          6.1     Timing of Challenges. Any party or non-party may challenge a designation of
 3 confidentiality at any time. Unless a prompt challenge to a designating party’s confidentiality

 4 designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic

 5 burdens, or a significant disruption or delay of the litigation, a party does not waive its right to

 6 challenge a confidentiality designation by electing not to mount a challenge promptly after the

 7 original designation is disclosed.

 8          6.2     Meet and Confer. The parties must make every attempt to resolve any dispute
 9 regarding confidential designations without court involvement. Any motion regarding confidential

10 designations or for a protective order must include a certification, in the motion or in a declaration

11 or affidavit, that the movant has engaged in a good faith meet and confer conference with other

12 affected parties in an effort to resolve the dispute without court action. The certification must list

13 the date, manner, and participants to the conference. A good faith effort to confer requires a face-

14 to-face meeting or a telephone conference.

15          6.3     Judicial Intervention. If the parties cannot resolve a challenge without court
16 intervention, the designating party may file and serve a motion to retain confidentiality under Local

17 Civil Rule 7 (and in compliance with Local Civil Rule 5(g), if applicable). The burden of

18 persuasion in any such motion shall be on the designating party. Frivolous challenges, and those

19 made for an improper purpose (e.g., to harass or impose unnecessary expenses and burdens on

20 other parties) may expose the challenging party to sanctions. All parties shall continue to maintain

21 the material in question as confidential until the court rules on the challenge.

22 7.       PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER
23 LITIGATION

24          If a party is served with a subpoena or a court order issued in other litigation that compels
25 disclosure of any information or items designated in this action as “CONFIDENTIAL,” that party

26 must:

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 1                  (a)    promptly notify the designating party in writing and include a copy of the
 2 subpoena or court order;

 3                  (b)    promptly notify in writing the party who caused the subpoena or order to
 4 issue in the other litigation that some or all of the material covered by the subpoena or order is

 5 subject to this agreement. Such notification shall include a copy of this agreement; and

 6                  (c)    cooperate with respect to all reasonable procedures sought to be pursued by
 7 the designating party whose confidential material may be affected.

 8 8.       UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
 9          If a receiving party learns that, by inadvertence or otherwise, it has disclosed confidential
10 material to any person or in any circumstance not authorized under this agreement, the receiving

11 party must immediately (a) notify in writing the designating party of the unauthorized disclosures,

12 (b) use its best efforts to retrieve all unauthorized copies of the protected material, (c) inform the

13 person or persons to whom unauthorized disclosures were made of all the terms of this agreement,

14 and (d) request that such person or persons execute the “Acknowledgment and Agreement to Be

15 Bound” that is attached hereto as Exhibit A.

16 9.       INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED
17 MATERIAL

18          When a producing party gives notice to receiving parties that certain inadvertently

19 produced material is subject to a claim of privilege or other protection, the obligations of the

20 receiving parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This provision

21 is not intended to modify whatever procedure may be established in an e-discovery order or

22 agreement that provides for production without prior privilege review. The parties agree to the

23 entry of a non-waiver order under Fed. R. Evid. 502(d) as set forth herein.

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 1 10.      NON TERMINATION AND RETURN OF DOCUMENTS
 2          Within 60 days after the termination of this action, including all appeals, each receiving
 3 party must return all confidential material to the producing party, including all copies, extracts and

 4 summaries thereof. Alternatively, the parties may agree upon appropriate methods of destruction.

 5          Notwithstanding this provision, counsel are entitled to retain one archival copy of all
 6 documents filed with the court, trial, deposition, and hearing transcripts, correspondence,

 7 deposition and trial exhibits, expert reports, attorney work product, and consultant and expert work

 8 product, even if such materials contain confidential material.

 9          The confidentiality obligations imposed by this agreement shall remain in effect until a
10 designating party agrees otherwise in writing or a court orders otherwise.

11                    IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
12 DATED: Nov. 4, 2021                                    s/ Carl A. Lopez (by permission)
                                                          Carl A. Taylor Lopez, WSBA #6215
13                                                        LOPEZ & FANTEL, INC. P.S.
                                                          2292 W. Commodore Way, Suite 200
14                                                        Seattle, WA 98199
                                                          Attorney for Plaintiff
15
     DATED: Nov. 4, 2021                                  s/ Anne M. Talcott
16                                                        Anne M. Talcott, WSBA #26886
                                                          SCHWABE, WILLIAMSON & WYATT
17                                                        1211 SW Fifth Avenue, Suite 1900
                                                          Portland, OR 97204
18
                                                          Jennifer L. Campbell, WSBA #31703
19                                                        1420 Fifth Avenue, Suite 3400
                                                          Seattle, WA 98101
20                                                        Attorneys for Defendant
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 1         PURSUANT TO STIPULATION, IT IS SO ORDERED

 2         IT IS FURTHER ORDERED that pursuant to Fed. R. Evid. 502(d), the production of any

 3 documents in this proceeding shall not, for the purposes of this proceeding or any other federal or

 4 state proceeding, constitute a waiver by the producing party of any privilege applicable to those

 5 documents, including the attorney-client privilege, attorney work-product protection, or any other

 6 privilege or protection recognized by law.

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     DATED: November 4, 2021
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                                                        Thomas S. Zilly
11                                                      United States District Judge
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 1                                             EXHIBIT A
 2                   ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3          I,   ____________________________________           [print   or   type   full   name],   of
 4 ____________________________________ [print or type full address], declare under penalty of

 5 perjury that I have read in its entirety and understand the Stipulated Protective Order that was

 6 issued by the United States District Court for the Western District of Washington on [date] in the

 7 case of Dallas Swank and Jeanne Pascal v. DePuy Synthes Sales, Inc.; DePuy Orthopaedics, Inc.;

 8 and John Does I-X,; USDC WD WA No. 2:20-cv-01373-TSZ. I agree to comply with and to be

 9 bound by all the terms of this Stipulated Protective Order and I understand and acknowledge that

10 failure to so comply could expose me to sanctions and punishment in the nature of contempt. I

11 solemnly promise that I will not disclose in any manner any information or item that is subject to

12 this Stipulated Protective Order to any person or entity except in strict compliance with the

13 provisions of this Order.

14          I further agree to submit to the jurisdiction of the United States District Court for the
15 Western District of Washington for the purpose of enforcing the terms of this Stipulated Protective

16 Order, even if such enforcement proceedings occur after termination of this action.

17 Date:

18 City and State where sworn and signed:

19 Printed name:

20 Signature:

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